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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


NIKE, INC.,
                                                     Case No. 20-cv-02615
               Plaintiff,
                                                     Judge Sara L. Ellis
v.
                                                     Magistrate Judge Sidney I. Schenkier
SKR STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff Nike, Inc.

(“Nike” or “Plaintiff”) hereby dismisses this action with prejudice as to the following Defendants:

                  Defendant Name                                    Line No.
                      dingshen                                         26
                      shunbor                                         110


Dated this 10th day of July 2020.            Respectfully submitted,



                                             /s/ Amy C. Ziegler
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